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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DISTRICT OF MARYLAND

 

 

(BALTIMORE DIVISION)

)
JEFFREY DOYLE )
)
Plaintiff )
)

VS. ) Case No.
)
FRONTLINE ASSET STRATEGIES, LLC, _ )
ET AL. )
)
Defendants )
)

 

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
(FEDERAL QUESTION)

PLEASE TAKE NOTICE that Defendants Frontline Asset Strategies, LLC (hereinafter
Frontline”) and Resurgent Capital Services L.P. (“Resurgent”) (collectively “Defendants”)
hereby removes to this Court the state court action described below.

1. On August 31, 2016, the Plaintiff commenced an action in the Circuit Court for
Anne Arundel County, Maryland, entitled Jeffrey Doyle v. Frontline Asset Strategies, LLC, et al.,
Case Number C-02-CV-16-002759. A copy of the Summons and Complaint received by
Defendants is attached and marked as Exhibit A in accordance with L.R. 103.5a.

Zi This action is a civil action of which this Honorable Court has original
jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this Court by
Defendants pursuant to 28 U.S.C. § 1441(b) in that it presents a federal question in that Plaintiff
alleges violations of 15 U.S.C. § 1692 ef seqg., the Fair Debt Collection Practices Act

(“FDCPA”).
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3. Further, this Court has supplemental jurisdiction on the related state law claims
pursuant to 28 U.S.C. § 1367.

4, Defendants were served with the state court action on September 22, 2016. This
removal is timely pursuant to 28 U.S.C. § 1446(b).

3 To the best of the undersigned’s knowledge, no other pleadings or documents,
other than the Summons and Complaint attached hereto, have been filed in this matter.

6. As required by 28 U.S.C. § 1446(d), Defendants will give notice of the filing of
this notice to the Plaintiff and to the clerk of the Circuit Court for Anne Arundel County,
Maryland, where the action is currently pending.

WHEREFORE, Defendant respectfully requests that the above captioned matter currently
pending in the Circuit Court for Anne Arundel County, Maryland be removed to this Honorable
Court.

THE LAW OFFICES OF RONALD S. CANTER, LLC

ddl

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CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing was

served upon the individual(s) listed below by first class mail, postage prepaid on this 20th day of

October, 2016 to:

Matthew Vocci, Esq.

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